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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                       LAFAYETTE DIVISION


JOHN THIBODEAUX ET AL                              CASE NO. 6:18-CV-00501

VERSUS                                              UNASSIGNED DISTRICT JUDGE

J M DRILLING L L C ET AL                           MAGISTRATE JUDGE WHITEHURST


                  NOTICE OF MOTION SETTING WITHOUT ORAL ARGUMENT

       Please take notice that the Motion to Dismiss for Lack of Jurisdiction and Failure to State a Claim
(Document No. 54) filed by Admiral Insurance Co on October 26, 2018 has been referred to Honorable
Carol B. Whitehurst and has been assigned the December 19, 2018 motion date.

                                                   Deadlines

       Any response to said motion is due within twenty-one (21) days after service of the motion (see LR
7.5). OPPOSITION TO THE MOTION MUST BE FILED TIMELY OR THE MOTION WILL BE
CONSIDERED UNOPPOSED. The movant may seek leave of court to file a reply within ten (10)
calendar days after the memorandum in opposition is filed. LR 7.8 governs the length of the memoranda.

                                              No Oral Argument
        It is the policy of the Court to decide motions on the basis of the record without oral argument.
Briefs should fully address all pertinent issues. All parties will be notified if the Court finds oral argument is
necessary. A written ruling will be issued in due course.

                                                Courtesy Copies

         A courtesy copy of the briefs and any attachments must be provided to chambers promptly after
filing to the following address:

                              Hon. Carol B. Whitehurst
                              United States Magistrate Judge
                              800 Lafayette St., Suite 3400
                              Lafayette, Louisiana 70501


DATE OF NOTICE: October 29, 2018

                                              TONY R. MOORE
                                              CLERK OF COURT
